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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


WILLIAM R. RONGEY, individually, and on
behalf of all others similarly situated,

Plaintiffs,                                            Case No. 1:18-cv-04613

vs.                                                    District Judge Jorge L. Alonso

ANSELMO LINDBERG & ASSOCIATES,                         Magistrate Judge Gabriel A. Fuentes
LLC,

Defendant.
                                    INITIAL STATUS REPORT

        Pursuant to this Court’s June 14, 2019 MINUTE entry [Doc. #50], the parties submit
their Initial Status Report.

      1. Description of Claims and Relief Sought

         a. Summary of Claims.

              Plaintiff’s position. If late charges are tied to overdue monthly payments, the absence
              of a monthly payment obligation after acceleration and before reinstatement precludes
              the imposition of late charges for that period. See Rizzo v. Pierce & Assocs., 351 F.3d
              791, 794 (7th Cir. 2003). While the subject mortgage provides for late fees when a
              monthly payment has not been made within fifteen days of the date on which it was
              due, monthly payments are not “due” once the mortgage loan is accelerated.
              Accordingly, Defendant’s statements that (1) “[b]ecause of … late charges … the
              amount due on the day you pay may be greater;” is deceptive, false, and misleading
              once the loan is accelerated and Plaintiff and members of the putative class have
              failed to reinstate the mortgage loan because it creates the false impression that
              Plaintiff and members of the putative class are subject to additional late fees that
              cannot be charged to the mortgage loan due to the absence of a monthly payment
              obligation after acceleration and before reinstatement; therefore, violating 15 U.S.C.
              §§ 1692e, e(2), e(5), and e(10). Plaintiff seeks to certify a class.

              Defendant’s position. Defendant disagrees with Plaintiff’s analysis of applicable law
              about acceleration and denies that its letter violated the FDCPA. Defendant does not
              believe that a class can or should be certified.

         b. Relief Sought. Statutory damages for Plaintiff in an amount of $1,000 and the
            amount as the court may allow for all other class members, without regard to a

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          minimum individual recovery, not to exceed the lesser of $500,000.00 or 1 per
          centum of the net worth of Defendant and the costs of the action, together with
          reasonable attorney’s fees as determined by the court. Defendant does not believe
          that a class can or should be certified.

   2. Referral of Matters. This case is referred to the magistrate judge for discovery
      supervision, with authority to extend deadlines, and a settlement conference. See Dkt. 20.

   3. Status of Discovery. Responses to Mandatory Initial Discovery (MIDP) were served by
      Plaintiff and Defendant on October 12, 2018. The parties have completed written and oral
      discovery but will continue to work within Fed. R. Civ. P. 37 to resolve certain disputes.
      Fact discovery closed on May 16, 2019. Dkt. 47

   4. ESI Discovery. This case did not involve ESI discovery but may involve ESI discovery
      to the extent a class is certified and class member data is provided.

   5. Status of Settlement. Pursuant to Magistrate Judge Cummings’ minute order of May 16,
      2019, Dkt. 47, the parties have exchanged settlement positions in writing. Plaintiff has
      proposed a classwide settlement and Defendant has responded with an individual offer.

DATED: June 21, 2019                           Respectfully submitted,

                                               /s/ James C. Vlahakis

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